 Case 1:08-cr-00073-GJQ           ECF No. 63, PageID.194           Filed 08/21/08       Page 1 of 2




                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                  Case No. 1:08-cr-73
                                    )
v.                                  )                  Honorable Robert Holmes Bell
                                    )
GLENN MAURICE PORTER,               )
                                    )
                  Defendant.        )
____________________________________)


                             REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on August 21, 2008, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Glenn Maurice Porter entered a plea of guilty to counts 2 and 3 of the Second

Superseding Indictment charging him with attempted armed robbery of a financial institution (count

2), in violation of 18 U.S.C. §§ 2113(a), (d), and aiding and abetting the discharge of a firearm

during and in relation to a crime of violence (count 3), in violation of 18 U.S.C. § 924(c)(1)(A)(iii),

in exchange for the undertakings made by the government in the written plea agreement. On the

basis of the record made at the hearing, I find that defendant is fully capable and competent to enter

an informed plea; that the plea is made knowingly and with full understanding of each of the rights

waived by defendant; that it is made voluntarily and free from any force, threats, or promises, apart

from the promises in the plea agreement; that the defendant understands the nature of the charge and

penalties provided by law; and that the plea has a sufficient basis in fact.
 Case 1:08-cr-00073-GJQ             ECF No. 63, PageID.195          Filed 08/21/08      Page 2 of 2




                  I therefore recommend that defendant's plea of guilty to counts 2 and 3 of the Second

Superseding Indictment be accepted, that the court adjudicate defendant guilty of the charge, and that

the written plea agreement be considered for acceptance at the time of sentencing. Acceptance of

the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are

specifically reserved for the district judge.

                  The Clerk is directed to procure a transcript of the plea hearing for review by the

District Judge.



Dated: August 21, 2008                          /s/ Joseph G. Scoville
                                                U.S. Magistrate Judge



                                       NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR .R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140 (1985);
Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522 U.S. 1030 (1997); United States
v. Walters, 638 F.2d 947 (6th Cir. 1981).




                                                   -2-
